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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 Jacksonville Division


IN RE:                                                     Chapter 11

RMS TITANIC, INC. et al.,                                  Case No. 3:16-bk-02230-PMG

            Debtor.
_______________________________________/                   Jointly Administered


OFFICIAL COMMITTEE OF EQUITY                               Adv. Case No. 18-ap-00064-PMG
SECUIRTY HOLDERS OF PREMIER
EXHIBITIONS, INC.,

         Plaintiff,

v.

MARK A. SELLERS, DOUGLAS BANKER,
RICHARD KRANIAK, JACK H. JACOBS,
DAOPING BAO, SELLERS CAPITAL, LLC,
and SELLERS CAPITAL MASTER FUND, LTD.,

      Defendants.
__________________________________________/


                 NOTICE OF APPEARANCE AND REQUEST FOR SERVICE

         PLEASE TAKE NOTICE that the undersigned counsel represents and appears on behalf

of Defendant, Sellers Capital LLC, in the above-styled action. All parties are requested to serve

copies of any and all motions, pleadings, reports and/or documents of any kind filed in these

proceedings upon said counsel at the physical or email addresses set forth below.
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                                                      Respectfully submitted,

                                                      /s/ Kenneth Dante Murena
                                                      Kenneth Dante Murena
                                                      Florida Bar No.: 147486
                                                       DAMIAN & VALORI LLP
                                                      1000 Brickell Avenue, Suite 1020
                                                      Miami, Florida 33131
                                                      Telephone: (305) 371-3960
                                                      Facsimile: (305) 371-3965
                                                      Email: kmurena@dvllp.com
                                                      Counsel for Defendant Sellers Capital, LLC




                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was served via

electronic transmission via this Court’s CM/ECF filing system on September 10, 2018 on all

counsel or parties who have appeared in the above-styled action, listed on the Service List set forth

below.

                                                      /s/ Kenneth Dante Murena
                                                      Kenneth Dante Murena, Esq.
                                                      Counsel for Defendant Sellers Capital, LLC


                                         SERVICE LIST


Robert P. Charbonneau, Esq.
Christopher B. Spuches, Esq.
Jason A. Martorella, Esq.
Counsel for Plaintiff
AGENTIS, PLLC
501 Brickell Key Drive, Suite 300
Miami, FL 33131
Via CM/ECF
